Case 2:21-bk-14640-SK       Doc 65 Filed 06/09/23 Entered 06/09/23 14:23:25                  Desc
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 1   KATHY A. DOCKERY
     CHAPTER 13 TRUSTEE
 2   801 S. FIGUEROA STREET, STE. 1850
     LOS ANGELES, CA 90017                                         FILED & ENTERED
 3   PHONE: (213) 996-4400
     FAX: (213) 996-4426
 4                                                                       JUN 09 2023

 5                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                    Central District of California
                                                                    BY may        DEPUTY CLERK
 6

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 8                             UNITED STATES BANKRUPTCY COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA

10                                     LOS ANGELES DIVISION

11

12   IN RE:                                               CASE NO: 2:21-bk-14640-SK

13                                                        CHAPTER 13

14   MOHAMED NAYEF MOHSEN,                         ORDER APPROVING STIPULATION
                                                   REVESTING TO THE DEBTOR THE
15                                                 CHAPTER 13 BANKRUPTCY ESTATE’S
                                                   INTEREST IN THE MONETARY
16                                                 SETTLEMENT FROM THE CLASS
                                                   ACTION LAWSUIT FOR THE PORTER
17                                         DEBTOR. RANCH GAS LEAK TO THE LIMIT OF
                                                   THE SCHEDULE C EXEMPTION IN THE
18                                                 AMOUNT OF $29,275.00

19                                                        [NO HEARING REQUIRED]

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21

22   The Court having reviewed the Stipulation Revesting to the Debtor the Chapter 13
23   Bankruptcy Estate’s Interest in the Monetary Settlement from the Class Action Lawsuit for the
24   Porter Ranch Gas Leak to the Limit of the Schedule C Exemption in the Amount of $29,275.00
25   (dkt.64 the “Stipulation”) and good cause appearing,
26   //
27   //
28   //

                                                      1
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                             Main Document Page 2 of 2



 1   IT IS HEREBY ORDERED:

 2          The Stipulation is approved.

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23   Date: June 9, 2023

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